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CRIME

STOPPERS

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Houston, Texas 77254-1654
(713) 521-4600
www.crime-stoppers.org

August 22, 2019

Federal Court Clerk’s Office
Attn: Judge Rosenthal

PO Box 61010

Houston, TX 77208

Dear Judge Rosenthal,

Crime Stoppers of Houston is Houston’s top non-profit dedicated to public safety. Our mission
includes efforts to solve and prevent crime in the greater Houston area in partnership with
members of the criminal justice system including law enforcement agencies, the criminal bar,
and the media.

In accord with that mission we are affected by the proposed settlement agreement currently
being considered by this Court in the Odonnell litigation, i.e., the agreement binds “those who
are in active concert or participation with the Parties’ officers, agents, servants, employees or
attorneys.”

Simply put, Crime Stoppers of Houston urges the Court to reject the proposed settlement
agreement. We concur that indigency should not be used as an instrument of the state to
enforce plea bargains. However, public safety must be taken into consideration and the rights of
victims of crime.

The unwillingness of the Harris County judiciary to consider public safety while exercising its
discretion in the management of defendants has created a serious and dangerous situation.

In its amicus brief to this Court, Harris County District Attorney cites a litany of instances in
which members of the Harris County judiciary have unreasonably applied their pre-trial release
discretion. This revolving door approach has had very real effects on public safety including a
murder and other violent felonies that likely would not have occurred had discretion been
properly applied.

If passed, Crime Stoppers believes the Proposed Settlement Agreement will invite further crime
in Harris County and its surrounding communities.

Crime Stoppers of Houston is respectfully requesting the Court reject the Proposed Settlement
Agreement.

Thank you for time.

Andy Kahan
Director of Victim Services and Advocacy

Crime Stoppers of Houston's mission is to solve and prevent crime in the Greater Houston area

in partnership with citizens. media and the criminal iustice svstem.
